            Case 8:16-cr-00076-JVS Document 1694 Filed 11/29/21 Page 1 of 5 Page ID #:19202

                                                         United States District Court
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.             SACR 16-76JVS

 Defendant     Cynthia A Weekes                                              Social Security No. 2         9   2     4
       Cynthia Kalterakus; Cynthia Ann Kalterakus;
                                                                             (Last 4 digits)
 akas: Cynthia Ann Weekes; Cynthia Ann




                                                                                                                    MONTH      DAY     YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.           11     29        21

  COUNSEL                                                                  L Richard Walton
                                                                             (Name of Counsel)

    PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                   NOT
                                                                                                               CONTENDERE               GUILTY
  FINDING             There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
                     Mail Fraud, Aiding and Abetting and Causing an Act to be Done in violation of 18 USC Section 1341, 18 USC Section 2(a)
                     and 18 USC Section 2(b)

JUDGMENT             The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/            contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM               Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER              custody of the Bureau of Prisons to be imprisoned for a term of: 1 DAY (TIME SERVED)


It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due
immediately. Any unpaid balance shall be due during the period of supervised release, at the rate of not less than
$25 per quarter.

Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established that
he is unable to pay and is not likely to become able to pay any fine.

The defendant shall comply with Second Amended General Order No. 20-04.

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Cynthia A.
Weekes, is hereby committed on Count 11 of the 30-Count Indictment to the custody of the Bureau of Prisons for
a term of ONE DAY (TIME SERVED)

Upon release from imprisonment, the defendant is placed on supervised release for a term of two (2) years under
the following terms and conditions:

              1. The defendant shall comply with the rules and regulations of the United States Probation & Pretrial
                 Services Office and Second Amended General Order 20-04, including the conditions of probation
                 and supervised release set forth in Section III of Second Amended General Order 20-04.



CR-104 (wpd 12/20)                                 JUDGMENT & PROBATION/COMMITMENT ORDER                                                   Page 1 of 5
            Case 8:16-cr-00076-JVS Document 1694 Filed 11/29/21 Page 2 of 5 Page ID #:19203

 USA vs.     Cynthia A Weekes                                      Docket No.:   SACR 16-76JVS

               2.    During the period of community supervision, the defendant shall pay the special assessment in
                     accordance with this judgment's orders pertaining to such payment.

               3.    The defendant shall cooperate in the collection of a DNA sample from the defendant.


               4. The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall
                  submit to one drug test within 15 days of release from custody and at least two periodic drug tests
                  thereafter, not to exceed eight tests per month, as directed by the Probation Officer.


               5. The defendant shall abstain from using alcohol.

               6.    The defendant shall participate in mental health treatment, which may include evaluation and
                     counseling, until discharged from the program by the treatment provider, with the approval of the
                     Probation Officer.


               7. As directed by the Probation Officer, the defendant shall pay all or part of the costs of the Court-
                  ordered treatment to the aftercare contractors during the period of community supervision. The
                  defendant shall provide payment and proof of payment as directed by the Probation Officer. If the
                  defendant has no ability to pay, no payment shall be required.


               8. The defendant shall apply all monies received from income tax refunds, lottery winnings,
                  inheritance, judgments and any other financial gains to the Court-ordered financial obligation.


               9. The defendant shall not engage, as whole or partial owner, employee or otherwise, in any business
                  involving loan programs, telemarketing activities, investment programs or any other business
                  involving the solicitation of funds or cold calls to customers without the express approval of the
                  Probation Officer prior to engagement in such employment. Further, the defendant shall provide the
                  Probation Officer with access to any and all business records, client lists, and other records
                  pertaining to the operation of any business owned, in whole or in part, by the defendant, as directed
                  by the Probation Officer.

         10.         The defendant shall participate in a home detention program for 8 months. Electronic monitoring
                     is waived. The defendant may leave her residence to care

         11.         The defendant shall perform 100 hours of community service.

         Bond is ordered exonerated. All remaining counts as to this defendant are ordered dismissed. Defendant
         is advised of her appeal rights.



CR-104 (wpd 12/20)                         JUDGMENT & PROBATION/COMMITMENT ORDER                               Page 2 of 5
            Case 8:16-cr-00076-JVS Document 1694 Filed 11/29/21 Page 3 of 5 Page ID #:19204

 USA vs.        Cynthia A Weekes                                                   Docket No.:     SACR 16-76JVS


           In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation
           and Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend
           the period of supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue
           a warrant and revoke supervision for a violation occurring during the supervision period.



                       November 29,
                       2021
                       Date                                                      U. S. District Judge James V Selna

           It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified
           officer.

                                                                                 Clerk, U.S. District Court



                 11/29/21                                              By
                       Filed Date                                                Deputy Clerk




           The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                       STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                        While the defendant is on probation or supervised release pursuant to this judgment:
           1.     The defendant must not commit another federal, state, or             9.    The defendant must not knowingly associate with any persons
                  local crime;                                                               engaged in criminal activity and must not knowingly associate
           2.     The defendant must report to the probation office in the                   with any person convicted of a felony unless granted
                  federal judicial district of residence within 72 hours of                  permission to do so by the probation officer. This condition
                  imposition of a sentence of probation or release from                      will not apply to intimate family members, unless the court
                  imprisonment, unless otherwise directed by the probation                   has completed an individualized review and has determined
                  officer;                                                                   that the restriction is necessary for protection of the
           3.     The defendant must report to the probation office as                       community or rehabilitation;
                  instructed by the court or probation officer;                        10.   The defendant must refrain from excessive use of alcohol and
           4.     The defendant must not knowingly leave the judicial                        must not purchase, possess, use, distribute, or administer any
                  district without first receiving the permission of the court               narcotic or other controlled substance, or any paraphernalia
                  or probation officer;                                                      related to such substances, except as prescribed by a
           5.     The defendant must answer truthfully the inquiries of the                  physician;
                  probation officer, unless legitimately asserting his or her          11.   The defendant must notify the probation officer within 72
                  Fifth Amendment right against self-incrimination as to                     hours of being arrested or questioned by a law enforcement
                  new criminal conduct;                                                      officer;
           6.     The defendant must reside at a location approved by the              12.   For felony cases, the defendant must not possess a firearm,
                  probation officer and must notify the probation officer at                 ammunition, destructive device, or any other dangerous
                  least 10 days before any anticipated change or within 72                   weapon;
                  hours of an unanticipated change in residence or persons             13.   The defendant must not act or enter into any agreement with
                  living in defendant’s residence;                                           a law enforcement agency to act as an informant or source
           7.     The defendant must permit the probation officer to                         without the permission of the court;
                  contact him or her at any time at home or elsewhere and              14.   The defendant must follow the instructions of the probation
                  must permit confiscation of any contraband prohibited by                   officer to implement the orders of the court, afford adequate
                  law or the terms of supervision and observed in plain                      deterrence from criminal conduct, protect the public from
                  view by the probation officer;                                             further crimes of the defendant; and provide the defendant
           8.     The defendant must work at a lawful occupation unless                      with needed educational or vocational training, medical care,
                  excused by the probation officer for schooling, training,                  or other correctional treatment in the most effective manner.
                  or other acceptable reasons and must notify the probation
                  officer at least ten days before any change in
                  employment or within 72 hours of an unanticipated
                  change;




CR-104 (wpd 12/20)                                     JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 3 of 5
            Case 8:16-cr-00076-JVS Document 1694 Filed 11/29/21 Page 4 of 5 Page ID #:19205

 USA vs.     Cynthia A Weekes                                                       Docket No.:   SACR 16-76JVS


             The defendant must also comply with the following special conditions (set forth below).

             STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

                     The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the
           fine or restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1).
           Payments may be subject to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to
           restitution, however, are not applicable for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and
           costs must be paid by certified check or money order made payable to “Clerk, U.S. District Court.” Each certified check or money
           order must include the case name and number. Payments must be delivered to:

                     United States District Court, Central District of California
                     Attn: Fiscal Department
                     255 East Temple Street, Room 1178
                     Los Angeles, CA 90012

           or such other address as the Court may in future direct.

                    If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must
           pay the balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

                    The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing
           address or residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

                     The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change
           in the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18
           U.S.C. § 3664(k). The Court may also accept such notification from the government or the victim, and may, on its own motion or
           that of a party or the victim, adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. §
           3572(d)(3) and for probation 18 U.S.C. § 3563(a)(7).

                     Payments will be applied in the following order:

                              1. Special assessments under 18 U.S.C. § 3013;
                              2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                                States is paid):
                                        Non-federal victims (individual and corporate),
                                        Providers of compensation to non-federal victims,
                                        The United States as victim;
                              3. Fine;
                              4. Community restitution, under 18 U.S.C. § 3663(c); and
                              5. Other penalties and costs.

                 CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

                     As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing
           credit report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate
           financial statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the
           defendant must not apply for any loan or open any line of credit without prior approval of the Probation Officer.

                     When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to
           the Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including
           any business or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the
           Probation Office in advance of opening a new account or modifying or closing an existing one, including adding or deleting
           signatories; changing the account number or name, address, or other identifying information affiliated with the account; or any
           other modification. If the Probation Office approves the new account, modification or closing, the defendant must give the
           Probation Officer all related account records within 10 days of opening, modifying or closing the account. The defendant must not
           direct or ask anyone else to open or maintain any account on the defendant’s behalf.

                    The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500
           without approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                     These conditions are in addition to any other conditions imposed by this judgment.



CR-104 (wpd 12/20)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                       Page 4 of 5
             Case 8:16-cr-00076-JVS Document 1694 Filed 11/29/21 Page 5 of 5 Page ID #:19206


                                                                             RETURN

            I have executed the within Judgment and Commitment as follows:
            Defendant delivered on                                                             to
            Defendant noted on appeal on
            Defendant released on
            Mandate issued on
            Defendant’s appeal
            determined on
            Defendant delivered on                                                             to
      at
                 the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                                United States Marshal


                                                                 By
                       Date                                                     Deputy Marshal



                                                                        CERTIFICATE

            I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office,
            and in my legal custody.

                                                                                Clerk, U.S. District Court


                                                                 By
                       Filed Date                                               Deputy Clerk




                                                       FOR U.S. PROBATION OFFICE USE ONLY


           Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the
           term of supervision, and/or (3) modify the conditions of supervision.

                     These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


                     (Signed)
                                Defendant                                                      Date



                                U. S. Probation Officer/Designated Witness                     Date




CR-104 (wpd 12/20)                                 JUDGMENT & PROBATION/COMMITMENT ORDER                                                       Page 5 of 5
